Case 18-55697-lrc       Doc 404      Filed 07/15/21 Entered 07/16/21 10:40:07                 Desc Main
                                    Document      Page 1 of 47


                                                                                Filed in U.S, Bankruptcy COM
                                                                                        Atlanta, Georgia
 UNITED STATES BANKRUPTCY COURT OF GEORGIA
                      NORTHERN DISTRICT                                               JUL 15 2021
                                                                                    M. Regina Thomas, Clerk



                CASSANDRA JOHNSON-LANDRY
                DEBTOR                                                   BRC 18-55697 LRC




 SUBMISSION: AMENDED OBJECTION TO CLAIM NUMBER 3 VALERIE BURNOUGH


 CASSANDRA JOHNSON-LANDRY, Debtor currently submits AMENDMENT TO

 OBJECTION TO CLAIM REGARDING VALERI BURNOUGH per Order dated June 22,

 2021. According to: 0.C.G.A 53-2-1 Rules of Inheritance When Decedent Dies Without Will;

 Effect of Abandonment of Child, the rule of inheritance refers to a caregiver who is deceased and

 their heirs are their children, Furthermore, is there are no heirs any inheritance would lawfully

 become the inheritance of their spouse if applicable. 0.C.G.A. 53-2-1 appears to be based on the

 foundation of the deceased, child as the primary heir to legally justify any disbursements.


 Based on FED. R. BANK. P. 3001 (f) A proof of claim executed and filed in accordance with

 these rules shall constitute prima facie evidence of the validity and amount of the claim. The

 validity of the claim was never true nor correct. As stated previously in Debtor's objection,

 Debtor was coerced and mislead. The purpose of this actions by Creditors representing attorneys,

 attempting to pursued Debtor into filing Bankruptcy in the matter of both Alliance for Change

 through Treatment LLC and Attachment and Bonding Center of Atlanta, LLC. Due to the

 commercial properties which was involved in a PONZI SCHEME involving Debtors previous

 business partner, unbeknownst to Debtor until after the abandonment of her partner. The two

 commercial buildings housing both LLC's was leased by Debtor's ex business partner evident of
                                                                                                        1
Case 18-55697-lrc        Doc 404      Filed 07/15/21 Entered 07/16/21 10:40:07              Desc Main
                                     Document      Page 2 of 47




 signed lease agreement partner left within the agencies documents with partner's signature and

 others signature on them. Debtor was used to obtain SBA minority loans by ex business partner.

 These documents were also located after ex business partner's departure.


 In order, to cover the trail of all parties involved including the commercial property broker,

 Condo Association and Law firm representing the Condo Association of Haber sham at

 Northlake, Tucker, Georgia 30084, placing both Limited Liability Companies into Bankruptcy

 would eliminate the paper trail. Debtor reported all crimes per her DUE DELIGENCE, however

 both buildings were stolen from Debtor and sold. ALL MONIES were pocketed by those

 involved which Debtor has continuously named.


 It was very apparent Legal Counsel representing the deceased was not concerned regarding the

 best interest of their client based on:


     1. They were not aware she was deceased until May of 2021,

     2. Communication located by debtor involving a conversation relating to the amount being

         calculated and additional communication regarding the calculations (EXHIBIT A)


 The deceased creditor, as stated by Debtor, was paid for ALL SERVICES. Decease creditor's

 email uploaded in debtor's Bankruptcy file stating she was the DEBTOR appeared to have been

 her attempt to make amends before her departure. (EXHIBIT B).


 Debtor has also included (EXHIBIT C) which contains previous submitted objection, orders and

 additional documents to support amended objection. Debtor is aware of payment for claim was

 PREVIOUSLY SUBMITTED by the Chapter 7 Trustee PRIOR to the submission of Initial

 Objection of Claim by Debtor.



                                                                                                  2
Case 18-55697-lrc      Doc 404        Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                                     Document      Page 3 of 47




 The procedure for Objection Hearing is being requested to make it appear there were NO

 unethical practices taking place.

    14th day of JULY 2021
 eet444.4e6a, 904140a-444d/re,
 Cassandra Johnson-Landry, PRO SE




                                                                                          3
Case 18-55697-lrc     Doc 404     Filed 07/15/21 Entered 07/16/21 10:40:07    Desc Main
                                 Document      Page 4 of 47




     UNITED STATES BANKRUPTCY COURT OF GEORGIA
                 NORTHERN DISTRICT

                      CERTIFICATE OF SERVICE




 I, CASSANDRA JOHNSON-LANDRY, Debtor, currently submits

 SUBMISSION: AMENDED OBJECTION TO CLAIM NUMBER 3 VALERI

 BURNOUGH on the 14th Day of JULY 2021. Debtor is over the age of 18 years.

 Document submitted via USPS first Class Mail on 14th of July 2021.


         CHARLES R. BRIDGES
         101 MARIETTA STREET
         SUITE 2650
         ATLANTA, GA 30303


         MICHAEL A. CALDWELL
         101 MARIETTA STREET
         ATLANTA, GA 30303

         HERBERT C. BROADFOOT II
         2964 PEACHTREE ROAD, NW.
         SUITE 555
         ATLANTA, GA 30305

         S. GREGORY HAYS
         2964 PEACHTREE ROAD, NW.
         SUITE 555
         ATLANTA, GA 30305

        14th Day of July 2021



    eeumaftdizet pottodoo -,deorthley
       Cassandra Johnson-Landry, Pro Se
            678.860.3621




                                                                                   4
Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                              Document      Page 5 of 47




                              EXHIBIT A




                                         3
           Case 18-55697-lrc              Doc 404        Filed 07/15/21 Entered 07/16/21 10:40:07                            Desc Main
                                                        Document      Page 6 of 47
RE: FW. BURNOL ,F1 DAMAGES ....
mcarlton@CARLTON-LAVV.COM [mcarlton@CARLTON-LAWCOM1

Sent: 8/17/2017 9:19 AM
To;     "cassandra" <cassandra@mentalhealthgeorgia.com>



They sent me a settlement offer. I am trying to interpret it so I can give you a recommendation.


Matthew Carlton
Carlton Law LLC
160 Clairemont Avenue, Suite 340
Decatur, GA 30030
Office: (404) 458-4084
Mobile: (678) 596-6069

Confidentiality Notice:
This communication constitutes an electronic communication within the meaning of the Electronic Communications Privacy Act, 18 LE G
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Please contact us immediately by return e-mail or at (404) 458-4084, and destroy the original transmission and its attachments without rea-Ji-g
or saving in any manner.



  ------- Original Message -------
  Subject: RE: FW: BURNOUGH DAMAGES....
  From: "cassandra" <cassandra@rnentalhealthgeorgia,com>
  Date: 8/17/17 8:02 am
  To: mcariton@CARLTON-LAVV.0 M

  A settlement was never discussed.
  Settlement for what she was paid.



  Sent from my T-Mobile 4G LTE Device

  -     Original message ----
  From: rricarlton@CARLTON-LAWCOM
  Date: 8/16/17 11:28 AM (GMT-05:00)
  To: "Michael A. Caldwell" <Michaelcaldwell@dcbflegal.com>
  Subject: RE: PAL BURNOUGH DAMAGES

  Michael, I got your email re: damages. Am I looking at it wrong? I ask because you have counted the unpaid minimum via gel
  arid overtime twice to get to your $30,222.71 amount,

  Please advise, thanks,


  Matthew Canton
  Carlton Law LLC
  160 Clairernont Avenue, Suite 340
  Decatur, GA 30030
  Office: (404) 458-4084
  Mobile: (678) 596-6069

  Confidentiality Notice:
 ;This communication constitutes an electronic communication within the meaning of the Electronic Communications Privacy Act, 16
  LI,S.C. Section 2510, and its disclosure is strictly limited to the recipient intended by the sender of this message. This transmission,
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                                                       Document      Page 7 of 47
recipient, any disclosure, copying,  ibution or use of any of the information contain        i or attached to this transmission is STRI   '1.Y
PROHIBITED, Please contact us in,.,iediately by return e-mail or at (404) 458-4084, a.       destroy the original transmission and its
attachments without reading or saving in any manner.



   ----- Original Message —
  Subject: RE: FW: BURNOUGFI DAMAGES.
  From: mcarlton@CARLTON-LAW.COM
  Date: 8/14/17 5:04 pm
  To: "Michael A. Caldwell" <Michaelcaldwell©dcbflegaLcom>

  Thanks,


  Matthew Carlton
  Carlton Law LLC
  160 Clairemont Avenue, Suite 340
  Decatur, GA 30030
  Office: (404) 4584084
  Mobile: (678) 596-6069

  Confidentiality Notice:
  This communication constitutes an electronic communication within the meaning of the Electronic Communications Privacy Act 18
  U.S.C. Section 2510, and its disclosure is strictly limited to the recipient intended by the sender of this message. This transmission
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  intended recipient, any disclosure, copying, distribution or use of any of the information contained in or attached to this transrnissiol
  is STRICTLY PROHIBITED. Please contact us immediately by return e-mail or at (404) 458-4084. and destroy the original
  transmission and its attachments without reading or saving in any manner.



     ---- Original Message
     Subject: FVV: BURNOUGH DAMAGES
     From: "Michael A. Caldwell" <Michaelcaldvitell@dcbflegal.corn>
     Date: 8/14/17 4:54 pm
     To: "rncarlton©carlton-law.corn" <mcarlton@carlton-law.com>
     Cc: "Charles R. Bridgers" <charlesbridgers@dcbflegal.com>, "Jessica Sorrenti" <JessicaSorrenti@dobflegal.co




     Matthew,


     These are the amounts due. Certain amounts are due under the Fair Labor
     Standards Act, and certain additional amounts are due under the parties
     employment agreement. We have calculated all, but we are not claiming
     liquidated damages on the amounts that only are due under the employment
   Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                                 Document      Page 8 of 47
agreement. As you 30vv, the law provides for the 'ompany to pay our
attorneys' fees


      $5,430.03 —        unpaid minimum wages owed


      $5,625.00 —        unpaid overtime owed


        $426.40 —        unpaid mileage owed (This figure is not included
      in calculating the liquidated damages owed)


      $7,686.25 —        contract claims           (This figure is not included
in calculating the liquidated damages owed.


     $11,055.03     Liquidated damages calculated on Overtime and
minimum claims only


• Total Back pay for unpaid minimum wage, overtime and Liquidated
• Damages = .$30 222.71


                                                                       Attorneys'
                                                                 fees:
                                                                 $37,338.04


                                                                        Total
                                                                 liabIlity
                                                                 $67,560.75


 Your best opportunity to settle this case without incurring substantially
 higher damages is to act now. Over the course of the litigation we have
    Case 18-55697-lrc       Doc 404       Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                                         Document      Page 9 of 47
• asked for, but new ;eceived a realistic settlernen, _Her from your client.
• We are open to a settlement, including one under which the company would
  make payments over a reasonable time (if necessary, and with sufficient
  safeguards for our client.) We can be creative and flexible to help all parties
  reach an agreement.

Michael A. Caldwell
DeLong . Caldwell . Bridgers. Fitzpatrick. Benjamin, LLC

3100 Centennial Tower
101 Marietta Street
Atlanta, Georgia 30303



 Tel:                             404.979.3154
 Fax:                             404-979-3154
 dcbflegal.corn
 michaelcaldwell@dcbfiegal corn


 Named "Georgia Superlawyer - Labor & Employment Law, 2011, 2012, 2013,
 2014, 2015, 2016, 2017;
 Named "2012 and 2013 Legal Elite" Employment Law, Georgia Trend Magazine;
 Atlanta Magazine 2013, 2014, 2015, 2016 Top Attorneys in Georgia,
 Peer Rated "AV Preeminent" (Highest Rating) by Martindale Hubbell Lawyer
 Ratings 20+ years




 From: Jessica Sorrenti <JessicaSorrentigdcbflegal.com>
 Date: Monday, August 14, 2017 at 4:24 PM
 To: Michael Caldwell <Michaelcaldwell@dcbflegal.com>
 Cc: "Charles R. Bridgers" <charlesbridgers@dcbflegal.com>
 Subject: 13URNOUGH DAMAGES

 $5,430.03 — minimum owed


 $5,625 -- overtime owed


 $426.40 — unpaid mileage
  Case 18-55697-lrc      Doc 404     Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                                    Document     Page 10 of 47
$7,686.25           car, act claims


$11,055.03 — liquidated damages on OT and minimum claims
only




Jessica Sorrenti
laralegal
     , Caldwell ,        . Fitzpatrick Bet* nip




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Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                              Document     Page 11 of 47




                                  EXHIBIT B
Case 18-55697-lrc    Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07      Desc Main
                               Document     Page 12 of 47

    Case 18-55697-Ire   Doc 402   Filed 06/30/21 Entered 06/30/2113:10:28   Desc Main
                                  Document     Page 1 of 4



                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    IN RE:
                                         Civil Action No.
    Cassandra Johnson Landry,            18-55697-Irc

                    Debtor


         CREDITOR VALERI BURNOUGH'S RESPONSE TO DEBTOR'S
            ADDENDUM TO OBJECTION TO CLAIM NUMBER 3

          Judgment Creditor, Valeri Bumough, (hereinafter       . 13urnough") through

    the undersigned counsel states as follows:


       1. Counsel for Judgment Creditor learned of Ms. Burnough's death on May 26,

          2021. Counsel has filed a suggestion of death on behalf of Ms. Burnough.

          [.Dkt. 383]

       2. On May 27, 2016, undersigned counsel filed a complaint on Ms. Burnough's

          behalf against Debtor Cassandra Johnson Landry, Alliance for Change

          Through Treatment, LLC ("ACT"), and Attachment & Bonding Center of

          Atlanta, LLC ("ABC") in the U.S. District Court for the Northern District of

           Georgia alleging violations of the Fair Labor Standards Act, 29 U.S.C. §

          201, et seq., 26 U.S.C. § 7434 and state-law claims for breach of contract,

           quantum meruit, and promissory estoppel.
Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07          Desc Main
                              Document     Page 13 of 47

    Case 18-55697-Irc   Doc 402   Filed 06/30/21 Entered 06/30/21 13:10:28   Desc Main
                                  Document     Page 2 of 4



       3. The Parties to said lawsuit reached a settlement agreement before U.S.

          Magistrate Judge Justin S. Anand on November 29, 2017. A true and correct

          copy of the Court's Minute Sheet evidencing the settlement agreement. [Dkt,

          384-1] The Court directed the parties to prepare and submit a formal

          settlement agreement.


       4. The Judgment Creditor's Counsel submitted a settlement agreement draft to

          Debtor's then-counsel who responded that Ms. Landry refused to sign and

          intended to renege on the settlement she had agreed to at the Mediation,.

       5. On February 19, 2018, Undersigned counsel filed a Motion to Enforce and

          Approve Settlement as agreed to during Mediation. [Dkt. 384-2]


       6. On March 22, 2018, U.S. District Court Judge Leigh Martin May issued an

          order granting Ms. Bumough's Motion to Enforce and Approve the

           Settlement as agreed to during Mediation. [Dkt. 384-3]

       7. On March 26, 2018, the District Court entered a Judgment against Cassandra

           Johnson Landry, Alliance for Change Through Treatment, LLC and

           Attachment & Bonding Center of Atlanta, LLC, ruling that they were jointly

           and severally liable to Ms. Burnough in the amount of $30,000. [Dkt 384-4]




                                             -2-
Case 18-55697-lrc      Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07      Desc Main
                                 Document     Page 14 of 47

   Case 18-55697-Irc    Doc 402   Filed 06/30/21 Entered 06/30/21 13:10:28   Desc Main
                                  Document     Page 3 of 4



      8. Judgment Debtor Cassandra Johnson Landry ("Landry") filed this

         Bankruptcy action on April 11, 2018, approximately 2 weeks after entry of

         the aforementioned Judgment.


      9. Having been found jointly and severally liable for the Judgment, Debtor

         Cassandra Johnson Landry is personally liable for this debt which remains

         due and owed. Landry has acknowledged the existence of this Jud.gernent for

         the three years of her bankruptcy proceedings.

      10.Contrary to Judgment Debtor's Objection, Ms. 13urnough's death does not

         extinguish Landry's debt of $30,000 as determined by the U.S. District

         Court's Decision and Order entered on March 26, 2018.


       11.Judgment Creditor further seeks interest on the original Judgment dated

          March 22, 2018 at federal stat.itory rate of 2.06%.


       12.Upon Ms. 13urnough's death her interest in the Judgment passed to her

          estate.

       13.0n June 2, 2021, undersigned counsel on behalf of Creditor Valeri

          Bumough filed a Response [Dkt. 384] to Debtor's Objection to Claim

          Number 3 [Dkt. 366].



                                             -3-
Case 18-55697-lrc     Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07       Desc Main
                                Document     Page 15 of 47

   Case 18-55697-Irc    Doc 402   Filed 06/30/21 Entered 06/30/21 13:10:28   Desc Main
                                  Document     Page 4 of 4



       14.0ut   of an abundance of caution, undersigned counsel files this response on

         behalf of the Estate of Creditor Valeri Bumough requesting that this Court

         overrule Debtor's Addendum to Objection to Claim Number 3. [Dkt. 381]

         This 30th day of June 2021.

                                                DELONG CALDWELL
                                                BRIDGERS FITZPATRICK &
                                                BENJAMIN, LLC

                                                 s/ Charles Bridgers
                                                 Charles R. Bridgers
                                                 Georgia Bar No. 080791
                                                 Michael A. Caldwell
                                                 Georgia Bar No. 102775

    101 Marietta Street                          COUNSEL FOR CRED TOR
    Suite 2650                                   Valeri Burnough
    Atlanta, Georgia 30303
    404-979-3150
    charlesbridgersRdcbflegal.com
    michaelcaldwe11®dcbflegal.com
Case 18-55697-lrc     Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07      Desc Main
                                Document     Page 16 of 47




                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    IN RE:
                                         Civil Action No.
    Cassandra Johnson Landry,            18-55697-Irc

                    Debtor


                              CERTIFICATE OF SERVICE

        Undersigned Counsel certifies that on June 30 2021, he filed CREDITOR

    VALERI 13URNOUGH'S RESPONSE TO DEBTOR'S ADDENDUM TO

     OBJECTION TO CLAIM NUMBER 3 [Dkt. 4021 via the Clerk's electronic

     filing system, which will automatically effect service upon all counsel of record.

    Undersigned counsel further certifies that he served Debtor with a copy of this

     filing as follows:

                             CASSANDRA JOHNSON-LANDRY
                                     P.O. Box 1275
                                   Grayson, GA 30017
    This 't day of July 202
                                                  DELONG CALDWELL
                                                  BRIDGERS FITZPATRICK &
                                                  BENJAMIN, LLC
                                                  sI Charles R. Bridgers
                                                  Charles R. Bridgers
                                                  Georgia Bar No. 080791

                                                  COUNSEL FOR CREDITOR
                                            -1-
Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                              Document     Page 17 of 47




                                               Valeri Burnough




                                         -2-
Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                              Document     Page 18 of 47




                                     EXHIBIT C




                                           6
           Case 18-55697-lrc        Doc 404      Filed 07/15/21 Entered 07/16/21 10:40:07 Desc Main
                                                Document     Page 19 of 47 it.iacnicw-bin/D1(tKpt.pi?9Y:),Ht
aeorcia Norhrn Bankruptcy CM/ECF v5 1.3 LIVE DB                      tittps://ect gann.circ



                                                         04/16/2018)

                                  CP 18                  Payment Advices of Debtor, filed by Cassandra
        ill/17/20 8                  (4 pgs)             Johnson Landry . (related document(s)4) (ryw) 0

                                  a 19                   Chapter 13 Plan with NO Certificate of Service filed
        04/17/2018                   (14 pgs)            by Cassandra Johnson Landry . (rYw) 0

                                  CA 20                      Certificate of Mailing by BNC of Notice of Meeting of
                                     (7 pgs)                 Creditors Notice Date 04/20/2018. (Admin.) (Entered:
         14/20/2018                                          04/21/2018)

                                  (321                   Certificate of Mailing by BNC of Chapter 13 Plan
                                    (19 pgs)             Notice Date 04/20/2018. (Admin.) (Entered:
         04/20/2018                                      04/21/2018)

                                   4 22                      Objection to Confirmation of Plan filed by John D.
                                     (3 pgs)                 Schlotter on behalf of JAMorgan Chase Bank, National
                                                             Association. (related document(s)19) (Schlotter, John)
         04/30/2018                                          0

                                   a 23                      Notice of Appearance with Certificate of Service Filed
                                     (3 pgs)                 by Brian K. Jordan on behalf of Ocwen Loan
         04/30/2018                                          Servicing, LLC. (Jordan, Brian) 0

                                   0 24                      Notice of Appearance Filed by A. Michelle Hart
                                     (1 pg)                  Ippoliti on behalf of WMorgari Chase Bank, National
          0/0 L/2018                                         Association. appoliti, A.) 0
       ,---
                                   0 25                      Notice of Mortgage Payment Change (NO PROOF OF
                                     (5 pgs)                 CLAIM FILED) with Certificate of Service filed by
                                                             JP1Vlorgan Chase Bank, National Association/U.S.
                                                             Bank National Association. (Mai, Von) Modified on
         0.' '03/2018                                        5/4/2018 (Id<p). 0

                                   CO 26               -2,    Objection to Confirmation of Plan and Motion to
                                      (3 pgs)                                    by Brian. K. Jordan on behalf of
                                                             Dismiss case filed .....
                                                             Select Portfolio Servicing' Inc.. (related
         (L'0'712018                                         document(s)19) (Jordan, Brian) 0
                                                                                                                       ...
                                   4327                 <0bject1on to Confirmation of Plan And Motion To
                                     (3 pgs)             Dismiss Case filed by Brian K, Jordan on behalf of
                                                         Wilmington Savings FiiiiirgiiCietY,`FSB, as trustee of
                                                         Stanwich Mortgage Loan Trust A. (related
            1412018                                      document(s)n) (Jordan, Brian) 0




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Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                              Document     Page 20 of 47




                                    EX   BIT D




                                         7
Case 18-55697-lrc     Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07              Desc Main
                                Document     Page 21 of 47




       IT IS ORDERED as set forth below:



       Date: June 22, 2021

                                                                       Lisa Ritchey Craig
                                                                  U.S. Bankruptcy Court Judge




                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

     INTRE MATTER OF:                                         CASE NUMBER


     CASSANDRA JOHNSON LANDRY,                                18-55697-LRC

            Debtor.                                           IN PROCEEDINGS UNDER
                                                              CHAPTER 7 OF THE
                                                              BANKRUPTCY CODE



            This matter comes before the Court on Debtor's Objection to ClaituNo- 4 000.

     366, the "Objection"), filed by the Debtor against Valeri Burnough ("Creditor").

            Debtor objects to the Claim on the basis that Creditor is deceased and that no trust

     was established prior to her death in 2020"
                                               . The Court does not know if such trust exists,

     but even if it did not, Debtor would still owe to Creditor's estate as the death of a creditor

     does not extinguish the claim itself See 0.C.G.A. § 53-2-1, et seq. Debtor also suggests

     that Attachment and Bonding Center of Atlanta, LLC — a company for which Debtor served
Case 18-55697-lrc           Doc 404      Filed 07/15/21 Entered 07/16/21 10:40:07               Desc Main
                                        Document     Page 22 of 47




    as CEO— owed Creditor such debt and that entity did not file bankruptcy, despite that the

    judgment names Debtor as jointly and severally liable.'

              The Claim complies with Federal Rule of Bankruptcy Procedure 3001 and,

    therefore, is "prima facie evidence of the validity and amount of" Creditor's claim. FED.

    R. BANK. 13, 3001(1). As the Objection has failed to raise any legitimate issues with the

    Claim, it is insufficient to rebut the prima facie evidence of the validity and amount of the

    Claim and fails to sufficiently place Creditor on notice as to the basis upon which Debtor

    objects to the Claim.

              If Debtor files an amended'objection that states a claim on or before July 16,2021,

    the Court will schedule such objection for hearing.

                                              END OF DOCUMENT

    Distribution List

    Cassandra Johnson Landry
    P.O. Box 1275
    Grayson, GA 30017

    Herbert C. Broadfoot,
    Herbert C. Broadfoot H, PC
    Ruckhead Centre - Suite 555
    2964 Peachtree Road, NW
    "%Manta, GA 30305

    S. Gregory Hays
    Hays Financial Consulting, LLC
    Suite 555
    2964 Peachtree Road
    Atlanta, GA 30305

    1 Set   District Court Northern District of Georgia Case No. 1:16-cv-1734-1MM at Doc. 57.
                                                             2




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Case 18-55697-lrc   Doc 404     Filed 07/15/21 Entered 07/16/21 10:40:07          Desc Main
                               Document     Page 23 of 47




         UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT




         CASSANDRA JOHNSON           ANDRY
         DEBTOR                                           BRC 8-556971-RC




         ADDENDUM TO: OBJECTION TO CLAIM NUMBER 3 (21457005) Valeri
         r3 urnough

         CASSANDRA JOHNSON-LANDRY, Debtor, currently submits email by Valeri
         Burnough, as Debtor per email (EXHIBIT A)„.Docurnent was submitted via email
         and does not contain the signature of the submitter. Due to submitter currently
         deceased both, signature authenticity and validity of submission by submitter is not
         verifiable. (EXHIBIT B). Please note SLIBMITTER DIED ON DEBTOR'S
         BIRTHDAY 11/2/2020. Who's blaming it on Covid?

         ON 2.2.21 Chapter 7 Trustee mailed a copy of the Notice (EXHIBIT C) of
         Trustees Final Report and Application for Payment for Compensation to
         VALRI BURNOUGUI C/O CASSANDRA JOHNSON-LANDRY, DEBTOR.
         There was not trust created prior to her untbnely death. In addition, to being
         aware of her departure.

         ALSO. THE INDIVIDUAL WHO HIT DEBTOR IN HER SECOND AUTO
         ACCIDENT COMITTED SUICIDE ON 11/1/2017 WHICH, WAS ONE DAY
         PRIOR TO DEBTOR'S BIRTHDAY 11/02.

         THIS APPEAR TO NOT BE COINCIDENTAL_ Per investigation it appears both
         claims were paid and stolen for Debtors Estate, Debtor suspects to Bankruptcy
         Officials and their assistants such as Attorneys and others. DEBTOR IS
         REQUESTING DOJ INVESTIGATION OF BOTH individuals


         2   Day of May 9021


         CASSANDRAJO7 NSON                RY, PRO-SE
Case 18-55697-lrc     Doc 404     Filed 07/15/21 Entered 07/16/21 10:40:07            Desc Main
                                 Document     Page 24 of 47




          UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT

                               CERTIFICATE OF SERVICE


   I. (CASSANDRA JOHNSON-LANDRY, Debtor currently submit Certificate of Service
   ADDENDUM TO: OBJECTION TO CLAIM NUMBER 3 (21457005) Valeri Burnough
        day of May 2021. Debtor is oVer the age of 18 years. COS and Addend urn to Objection will
   b.: mailed by the LISPS to:



          DELONG CALD WELL BR! DOERS
          FITZPATRICK AND BENJAMIN 1.-LC,
          3100 CENTENNIAL TOWER
          101 MARI F:ITA STREET
          ATLANTA, GEORGIA 30303


          &GREGORY HAYS, CHAPTER 7 TRUSTEE
          2964 PEACH IREE ROAD, surrE 555
          ATLANTA, G EORCil A 30305

          H ER BERT B ROA DFOOT, ESQ
          2964 PEACHTREE ROAD, SUITE 555
           \TI.ANTA, GEORGIA 30305




                                            RY, PRO SE
Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                              Document     Page 25 of 47




                                   EXHIBIT A




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Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07          Desc Main
                              Document     Page 26 of 47




         UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT



         CASSANDRA JOHNSON-LANDRY }
         DEBTOR                                          BR.0 18-55697LRC




         OBJECTION TO CLAIM NUMBER 3 (21457005) Valeri Burnough

         CASSANDRA JOHNSON-LANDRY, Debtor, currently objects to the above claim.
         The Creditor is currently deceased. Further investigation revealed no trust was
         established prior to her death in 2020. In addition, Debtor was made aware of claim
         beint , tiled in order to dissolve agency for purposes of covering illegal activity
         uncovered by, Debtor. Appeared illegal activity involved Debtor's previous business
         partner. The Claimant was an employee of the ATTACHMENT AND BONDING
         CENTER OF ATLANTA, EEC. This is a commercial claim and should not appear in
         Debtor's personal bankruptcy case. Previous documentation objecting to claim was
         submitted in 2018. Debtor did not owe any outstanding payments to Claimant. The
         ATTACHMENT AND BONDING CENTER OF ATLANTA LLC, did not file
         bankruptcy. Although the Debtor was the CEO of the agency, the claimant did not
         work for CASSANDRA JOHNSON-LANDRY, DEBTOR. (EXHIBIT A)


          S' Day of Ma


         CASSANDRA JOH        ON-          ' PRO-SE
Case 18-55697-lrc    Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07            Desc Main
                               Document     Page 27 of 47




         UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT
                               CERTIFICATE OF SERVICE



         1, CASSANDRA JOIINSON-LANDRY, Debtor currently submit Certificate of Service
         regarding OBJECTION TO CLAIM NUMBER 3 (21457005) Valeri Burnough on the
          I 8t h day of May 2021. Debtor is over the age of 18 years. COS and Objection will be
         mailed by the USPS to:


         DELONG CALDWELL BRIDGERS
         FITZPATRICK AND BENJAMIN LLC.
         3100 CENTENNIAL TOWER
         101 MARIETTA STREET
         ATLANTA. GEORGIA 30303


         &GREGORY HAYS, CHAPTER 7 TRUSTEE
         2964 PEACHTREE ROAD, SUITE 555
         ATLANTA. GEORGIA 30305

         HERBERT BROADFOOT, ESQ
         2964 PEACHTREE ROAD, SUITE 555
         ATLANTA. GEORGIA 30305




         18" DAY OF       AY 202



         CASSANDRA         HNSO          DRY, PRO SE
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                              EXHIBIT A
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  Pririt       Close Window

    St. bill       Valerie Burnough
        7-,,-cfn;,,klikiWard@mentalhealthgeorgia4pom
        Date: Thu, Jun 09,2016 10:32 am
              re: cassandra@mentalhealthgeorgia.00m


    November 2015, I contacted Valerie via email as the new DFCS Service Manager to come into the office to staff/review her cases.
    She Informed me at that tirne that she did not have any cases and told DFCS case managers on the cases she serviced that she
    was no tqlger employed with The agency because she had not been paid and they should look for another provider to transport Al
    thzt dme I asked her why didn't she inform ABC to reassign the cases to another worker and she did not respond.

    I:le:teeter 2015,I contacted Valerie came into the office stating that she was not paid for half of the month of July and none of
         )1.V.t or September and was seeking payment At that time, I pulled notes and only located July There were no notes for Aucus-
    or '3.3ptersber 2015. I provided Valerie with a total for some of July invoice still owed as the agency was awaiting DFCS payment
    as fey had a obtain a WAIVER for payment from their State Office. I discussed this issue with Ms, Landry and she instructed me to
    clritx:t, 'Valerie and allow her to resubmit her notes for the missing months she was not paid, which were August and September
    20'15. Valerie was contacted via email and telephone to resubmit the notes as they would be processed for payment Valerie came
     to tie office and submitted only the month ofAugust and stated she could not locate September 2015 on her computer, however ta
     giv .1 her until the next day to locate. Ms, Landry agreed and allowed Valerie the next day by close of business (5pm) to submit-he
     September 2015 notes. The next day Valerie was emailed by myself as to the agreement . Valerie telephoned the next day and
          ed that she could not locate them but to process August and avvait the approval of the DFCS waiver for payment to the agency

          zb 2316, Valerie was contacted via telephone and a voice message was left that the payment was received for the waiver
        d le with August notes and that her check Is ready and to call to confirm her address. No response was ever received from her as
     e't this dots.

     IV 3 Merle E3urnough did not provide the agency with a letter ofresignation as to the allegations as well as informing the agency
     ic r);r:$1gr the cases she serviced to another worker within Attachment and Bonding, but instead informed DFCS case managers
      4, find anoher provider Supervisor Dtonda Lamer reported to me that the Bridges case was assigned to Valerie and afte • her
       's arLas she was forced to obtain assistance for transportation from anther agency as Valerie stated to her that she was no
       .)neer err ployed with the agency and there wasn't anyone else with ABC available to take the case The agency regained the
     cli3 a for services in May 2016 after Ms. Lanier learned that this Information was not true and ABC indeed had staff to service the
     children ar d family ABC lost revenue due to the statements made by Valerie indicating that the agency could not provide sen,sces
      fr.1) lie merits of September 2015 thru April 2016. The case was scheduled for services thru ABC in May 2016.


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     l'•:{ccer GA 30084
     6/3 41•C 0-t; YO7 Office

     CONFIDENTIAL NOTICE: This           message (including attachments) is covered by the Electronic
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   OF ATLANTA LLC
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                                                                                                                                                                                                        Income
• TUCKER, GA 30084                                                                                      Other income                     4 Federal Income Tex withheld
  (678) 406-9707
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             Case 18-55697-lrc                            Doc 404              Filed 07/15/21 Entered 07/16/21 10:40:07                                                       Desc Main
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              Fomo    W-9
              Pie% January 20i 1)                                       Request for Taxpayer                                                                    Oleo Form to the
              Department of the Thwaity                        identification Number and Certification                                                          reoureitor. Do irart
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                  List account fiefilbar(S here    optional)


                            Taxpayer Identification Number (TIN)
         Enter your TIN In the appropriate box: The TIN provided must match the name given on the 'Name line
         to avoid backup withholding. For inclivicluals, this is your social security number ISSN). However, for a
         resident alien, sole proprietor, or disregarded entity see the Part I Instructions on page 3. For other
         entities, it Is your employer identification number (EIN). If you do not have a number, eels How to get a                                                ii
         Mon page 3.
        Note. If the account is in more than one name. see the chart on page 4 for guidelines on whose
        number to enter.


                          Certification
       Under penalties of perjury, I certify that:
       1. The number shown on this form is my correct taxpayer identification number (or tarn waiting for a number to be issued to me), and
       2. lam not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not been notified by the Internal !leeen,k1
          Service PS) that l am subject to backup withholding as a result of a failure to report all interest or dividends or (c) the IRS has notified me titt I in
          no longer subject to backup withholding, and
      3. I arn a LI.S. citizen or other LI.S. person (defined beloW)-
      Certification Instructions. You must cross out item 2 above if you have been notified by the IRS that you are cummtty subject to backup witt oldIrtçj
      because You have felled to report all interest and dividends on your tax return. For real estate transactions item 2 does not apply. For mortgapii
     Interest paid acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirement arrangement (1RA), in
     generally, payments other than interest and dividends you are not required to sign the certification, but you must provide your correct "TIN. See iii
    Instructions on page 4.
    Sign I Sanston, of
    Here        U.S. person                                                                                                         Oslo                40,7\
                                                                                                             Note. If a requester gives you a form other than Form W-9 to raquist
    General Instructions                                                                                     your TIN, you must use the requester's form if it is substantleIN s.....
   Section references are to the Internal Revenue Code unless Otherwise                                      to this Form W-9.
   noted.                                                                                                    Definition of a U.S. person. For federal tax purposes, you aro
   Purpose of Form                                                                                           considered a U.S. person if you are:
                                                                                                              • An individual who is a U.S. citizen or U.S. resident alien,
   A person who Is required to file an information return with the IRS must
  obtain your correct taxpayer identification number (TIN) to report for                                      • A partnership, corporation, company, or association created or
  example, income paid to you, real estate transactions mortgage interest                                     organized in the United States or under the laws of the United SI atei-
  you paid, acquisition or abandonment of secured property, cancellation                                      • An estate (other than a foreign estate). or
  of debt, or contributions you made to an IRA.
                                                                                                              • A domestic trust (as defined in Regulations section 301.7791- 1i.
    Use FormW-9 only if you are a U.S, person (including a resident                                           Special rules for partnerships. Partnerships that conduct a LT163
 alien), to provide your correct I1N to the person requesting it (the
                                                                                                              business in the United States are generally required to pay ;! WP.AilOitiincl
 requester) and, when applicable, to:
                                                                                                              tax on any foreign partners' share of income from such husireis.
   1, Certify that the TIN you are giving is correct for you are waiting for a                                Further, in certain cases where a Form W-9 has not been ire l'
 number to be issued),                                                                                        partnership is required to presume that a partner S a foreign          ,
   2. Certify that you are not subject to backup withholding, or                                              and pay the withholding tax. 'Therefore, if you are a US. penKri thni t;
   3.Claim exemption from backup withholding if you are a U.S. exempt                                         partner in a partnership conducting a trade or business in the 1,intieti
 payee. If applicable, you are also certifying that as a US. person, your                                     States, provide F01111 W-9 to the partnership to eltablish yeur
allocable share of any partnership income from a US. trade or business                                        status and avoid withholding on your share of partnenihip incnrno.
is not subject to the viithhokilng tax on foreign partners' share of
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    1984 - 2020



                                                                                                            #10   Share



    BURNOUGH Valeri IC.


    Of Riverdale, passed Nov. 2, 2020. Funeral arrangements entrusted to
    Dortch-Williamson Funeral & Cremation Services, Riverdale, GA.

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    MEMORIAL EVENTS



         NOV Viewing
          8   04:00 - 06:00 PM

              Dortch-Williamson Funeral & Cremation Services


                        vow Send Flowers



         NOV Funeral service
              11:00 AM

              Dortch-Williamson Funeral &Cremation Services

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                                                 Rh/el-dale, GA 30296

                                                        770-907-8548




                                    ts, Order by phone: (866) 764-7853




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                              Document     Page 35 of 47




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                                   Case 18-55697-lrc                     Doc 404        Filed 07/15/21 Entered 07/16/21 10:40:07                         Desc Main
                                                                                       Document     Page 36 of 47




                                                                                Valeri G. Burnough
                                                                              April 29, 1984 — November 2, 2020 (age 36)




                                                                                                                (m   o:?subject=Obituary%20Listing&body=Obituary0A

                                    Obituary & Services                                                                                          Tribute Wall



Obituary
                                           atIelit-'.   rni-irrtritv                                                                            Sand Flowers
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Services
VIEWING
                                                                                                                Directions                    (hftps://mapsgoogle.comn
Sunday
November 8, 2020                                                                                q=1410+Highway+138+SW,-FRiverdale,+GA+30298)
4:00 PM to 6:00 PM
Dortch-Williamson Funeral & Cremation Services                                                                Text Details
1410 Highway 138 SW
Riverdale, GA 30296
                                                                                                     .0 . Email Details
                                                                                                     .V




OUTSIDE CELEBRATION OF LIFE SERVICE                                                                              -------
                                                                                                                Directions                    (https://maps.google.cornt?
Monday
November 9, 2020                                                                                q= 410+Highway+138+SW,+Riverdale,+ GA-I-30296)
11:00 AM
Dortch-Williamson Funeral & Cremation Services                                                        0       Text Details
1410 Highway 138 SW
Riverdale, GA 30296                                                                                 rd Email Details'



                                                           Video is available for this event
                                               Mk Click here to access the video                 (https://vimeo.com/476992999)




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                  CI 2021 Dortch-Williamson Funeral & Cremation Services. A11 Rights Reserved,. Funeral Home website by CFS (https://www.consolidatedfuneraisen.rices.com)   TA
                                               (https://wvwv.tributearchivexorn) I Terms of Use (iterms-of-use) I Privacy Policy ((privacy policy)




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Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                              Document     Page 39 of 47




                              EXHIBIT B
  Case 18-55697-lrc            Doc 404       Filed 07/15/21 Entered 07/16/21 10:40:07                          Desc Main
                                            Document     Page 40 of 47



         Case 8-55697-Irc        Doc 275      Filed 04/16/20 Entered 04/20/2013:37:42                   Desc Main
                                              Document      Page 1 of 2

imununt:.,                                                                                                           mama

Prom                              vcburnough@aol.com
Selo                              Thursday, April 16, 2020 *12 PM
To:                               emergencyfiling
Srioject                          Case 18-55697-U1C




I'm tesponding to the the case, I'm a debtor of this case and would still like to move forward with the amount that was
ordered by the court_


Thank you,                                                                                      Bled in US. Bankrupt/41d
                                                                                                     Mania, Geor*
Waled f3umough
                                                                                                    APR 1.6 2020
      Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07     Desc Main
                                    Document     Page 41 of 47




                                                   by Cassandra Johnson Landry .
                                                   (related document(s)274) (aam)
                                                   (Entered: 04/27/2020)

                            278                    Certificate of Mailing by BNC of
                            (4 pgs)                Order and Notice Notice Date
                                                   04/23/2020. (Admin.) (Entered:
     04/23/2020                                    04/24/2020)
                                               ,
                            277                    Motion to Quash Subpoenas by a non-
                            (50 pgs; 3 docs)       party filed by Kerry S. Doolittle on
                                                   behalf ofJojo John. (Attachments: # 1
                                                   Exhibit Exhibits Part 1 # 2 Exhibit
     04/22/2020                                    Exhibits part 2) (Doolittle, Kerry)
     —
                            276                    Order and Notice of Deficient Filing.
                            (2 pgs)                Service by BNC. Entered on
                                                   4/21/2020. (related document(s)]5)
     04/21/2020                                    (law)

                            274                    Objection to Order Issued April 7,
                            (78 pgs)               2020 filed by Cassandra Johnson
                                                   Landry . (related document(s)2j
     04/17/2020                                    (aam) (Entered: 04/20/2020) 0

                            275                    Letter to Court dated April 16, 2020
                            (2 pgs)                filed by Valeri l3urnough. (scm)
                                                   [Pursuant to General Order 34-2020,
                                                   this document was received for filing
                                                   via email or fax.] (Entered:
     04/16/2020                                    04/20/2020)

                            273                    Submission of Proof of Service filed
                            (4 pgs)                by Cassandra Johnson Landry . (aarn)
     04:./16/2020                                  (Entered: 04/17/2020) 0

                            272                    Submission: Filing of Response in the
                            (6 pgs)                US Federal District Court of Georgia
                                                   Filed by Cassandra Johnson Landry .
     04/16/2020                                    (01j-intake)




of
Case 18-55697-lrc   Doc 404    Filed 07/15/21 Entered 07/16/21 10:40:07   Desc Main
                              Document     Page 42 of 47




                         EXHIBIT C
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                                     do Cassandra Johnson Landry
                                     PO Box 1275
                                     Grayson, GA 30017


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                                                 Grayson, GA 30017


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                                                   Entered  47      08:21:05 Desc Main
                                        Document         Page 1 of 7



                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

In re: LANDRY, CASSANDRA JOHNSON                                 Case No. 8-55697-LRC




                     •Debtor(s)


                                  NOTICE OF TRUSTEE'S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

         Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory HAy5,,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustees professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee's Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                             75 Ted Turner Drive, SW
                                                Atlanta, GA 30303
        Please take further notice that the Court will hold a hearing on the Trustees Final Report and
Applications for Compensation in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive, SW,
Atlanta, Georgia, at 10:10 a.m. on March 11, 2021.

        Given the current public health crisis, hearings may be telephonic only. Please check the "Important
Information Regarding Court Operations During COVID-19 Outbreak tab at the top of the GANB VVebsite prior
to the hearing for instructions on whether to appear in person or by phone.

        Your rights may be affected by the Court's ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the court to consider your views, then you and/or your attorney must attend the
hearing. You may also file a written response to the pleading with the Clerk at the address stated below, but
you are not required to do so. If you file a written response, you must attach a certificate stating when, how and
on whom (including addresses) you served the response. Mail or deliver your response so that it is received by
the Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.S.
Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
response to the undersigned at the address stated below.


Date Mailed: 02/02/2021                                    By: /s/ S. Gregory Hays
                                                                              Chapter 7 Trustee
S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555
UST Form 101.7.NFR (1011/2010)
 Case 18-55697-lrc Doc 404 Filed 07/15/21 Entered 07/16/21 10:40:07 Desc Main
 Case 8-55697-Irc Doc 333 Document
                          Filed 02/02/21Page 46 of02/02/21
                                          Entered  47      08:21:05 Desc Main
                          Document     Page 5 of 7



 Claim       Claimant                              Allowed Amount         Interim Payments               Proposed
 No.                                                      of Claim                  to Date               Payment
 5           Department of the Treasury                         0.00                     0.00                  0,00
 23          Cassandra Johnson Landry                           0.00                     0.00                  0.00
             For Alliance For Change
                                                 Total to be paid for priority claims:                          0,00
                                                 Remaining balance:                                        82,334.55

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $187,192.71 have been allowed and
      will be paid oro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 44,0 percent, plus interest (if
      applicable).
              Timely allowed general (unsecured) claims are as follows:
 Claim       Claimant                               Allowed Amount        Interim Payments                Proposed
 No,                                                       of Claim                 to Date               Payment
 2           Bureaus Investment Group                     13,719,40                      0.00              6,034.33
             Portfolio No 15 LLC
 3           Valeri Burnough                               30,060.95                     0.00             13,221.97
 4           American Express National                    13,312.03                      0.00              5,855.14
             Bank
 6           Midland Funding LLC                            9,000.99                     0.00              3,958.98
             Quanturn3 Group LLC                              182.60                     0.00                 80.31
 12          Bank of America, N.A.                         22,656.01                     0.00              9,964.98
 13           Bureaus Investment Group                     11,439.52                     0.00              5,031.54
              Portfolio No 15 LLC
 14           CACH, LLC                                    33,646.86                     0.00             14 799.18
 15           Woodbridge Mortgage                                0.00                    0.00                   0.00
              Investment Fund 3A, LLC
 16           Emory Eastside Medical                          150.00                     0.00                  65.98
              Center
 20           Georgia Department of                        42,634.37                     0.00             18,752.23
              Community Health
  21          Bureaus Investment Group                     10,389.98                     0.00              4,569.91
              Portfolio No 15 LLC
  22          Alliance For Change Through                        0.00                    0,00                   0.00
              Treatment LLC




UST Form 101-7-NFR (101112010)
 Case 18-55697-lrc Doc 404 Filed 07/15/21 Entered 07/16/21 10:40:07 Desc Main
 Case 18-55697-Irc Doc 333 Document
                           Filed 02/02/21Page 47 of02/02/21
                                           Entered  47      08:21:05 Desc Main
                           Document     Page 3 of 7



                                      UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

In re:LANDRY, CASSANDRA JOHNSON                                      Case No. 18-55697-LRC




                        Debtor(s)


                                     SUMMARY OF TRUSTEE'S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                   The Final Report shows receipts of:                                                       116,868.78
                   and approved disbursements cif:                                                              1,243.07
                   leaving a balance on hand ofl:                                                            115,625.71

              Claims of secured creditors will be paid as follovvs:

  Claim        Claimant            Claim Asserted         Allowed Amount of        Interim Payments to             Proposed
  No.                                                                Claim                       Date               Payment

  1            The Downs                   2,911 35                   2,911.35                        0.00               0.00
               Homeowners
               Association,
               Inc.
  7            Wilmington               199,596.30                 199,59630                          0,00               0.00
               Savings Fund
               Society, FSB
  8            Deutsche Bank            281,001.85                 281 001.85                         0.00               0.00
               National Trust
               Company
  10           JPMorgan                 492,297.43                 492,297,43                         0.00                0.00
               Chase Bank,
               NA
  11           JPMorgan                         0,00                       0.00                       0.00                0.00
               Chase Bank,
               NA
  17           Wilmington               139,245.29                 139 24529                          0.00                0.00
               Trust, NA
  18           Veiipro                   64,540.89                   64,540,89                        0.00                0.00
               Solutions



             1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
       earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
       receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
       account of the disbursement of the additional interest.
UST Form 101.7-NFR (1011/2010)
